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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA

HEATH WHITT,                                    )
AIS #222052,                                    )
                                                )
         Plaintiff,                             )
                                                )
vs.                                             )
                                                )   CASE NO. 2:18-CV-851-MHT-CSC
WARDEN MILLS, et al.                            )
                                                )
         Defendants.                            )

              DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO
                   RESPOND TO PLAINTIFF’S COMPLAINT

         COME NOW Defendants and respectfully request an extension of time for filing

their responsive pleading to Plaintiff’s Complaint, filed in the above-styled case, based on

the following:

         1.      This lawsuit was discussed by the Court during the last Evidentiary

Hearing in the case of Braggs v. Braggs, In the U.S. Middle District of Alabama, Civil

Action No. 2:14-cv-601, on October 23, 2018, as that case relates to the above-styled

case. The Court determined that this case could be filed separately from the Braggs case,

and was not subject to arbitration process in place for claims involving the Americans

with Disabilities Act.

         2.      Defendants are in the process of seeking counsel “outside” of the Alabama

Department of Corrections for representation of them in this matter.

         3.      The defendants believe that outside counsel can be retained by November

16, 2018, but the process of retaining such counsel will take some time to obtain the

necessary approval.

         4.      By filing this motion for extension of time to respond to Plaintiff’s


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Complaint, the Defendants do not intend to waive any arguments or defenses that would

be required in an initial pleading.

       WHEREFORE, based upon the foregoing, the Defendants respectfully request the

Court grant their motion, extending the time for filing a responsive pleading to Plaintiff’s

Complaint up to and including November 16, 2018.

                                      Steve Marshall
                                      Attorney General

                                      /s/ Joseph “Jody” G. Stewart Jr.
                                      Joseph “Jody” G. Stewart Jr. (STE123)
                                      Assistant Attorney General
                                      ASB-3423-W75J
                                      Attorney for Defendants
                                      Alabama Department of Corrections
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                                      Montgomery, Alabama 36130
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OF COUNSEL:

Legal Division
Alabama Department of Corrections
301 South Ripley Street
Montgomery, Alabama 36130
(334) 353-3890

                             CERTIFICATE OF SERVICE

               I hereby certify that on the 25th day of October 2018, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following (or by U.S. Mail to the non-CM-ECF
participants):

Heath Whitt #222052
Bullock Correctional Facility
P.O. Box 1507
Union Springs, Alabama 36089-5107

                                      /s/ Joseph (Jody) G. Stewart Jr.


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                          Joseph (Jody) G. Stewart Jr. (STE123)
                          Assistant Attorney General




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